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     Exhibit 1 to Plaintiff’s Second Supplemental
Application and Motion for Attorneys’ Fees, Costs, and
   Expenses under the Equal Access to Justice Act
  THE BOPP LAW FIRM, PC- Second Supplemental
Application Billing Records, Subtotaled by Attorney
                         Case 1:13-cv-00734-RBW Document 166-2 Filed 06/14/19 Page 2 of 13
                                       BLF Second Supplemental Billing Records                                                  1:13-cv-784-RBW
                                               Subtotaled by Attorney
                                                                                      LSI Laffey
                             Gross     Adjusted   LSI Laffey     LSI Gross            Adjusted
       Date       Name       Hours      Hours*      Rate         Amount                Amount      Description
                                                                                                  E-mail exchange with Melena Siebert and
              James Bopp,                                                                         Jeffrey P. Gallant regarding attorney fee
5/30/2019     Jr.               0.50       0.50 $     826.00 $           413.00   $        413.00 petition
              James Bopp,                                                                         Phone conference with Catherine regarding
5/30/2019     Jr.               0.30       0.30 $     826.00 $           247.80   $        247.80 details of Court Order
                                                                                                  Phone conference with client; Brock, Melena
              James Bopp,                                                                         Siebert and Jeffrey P. Gallant regarding Court
5/30/2019     Jr.               0.60       0.60 $     826.00 $           495.60   $        495.60 Order and attorney fee petition
                                                                                                  Review court order; phone conference with
                                                                                                  Jeffrey P. Gallant; phone conference with
              James Bopp,                                                                         Catherine; email exchange regarding court
5/30/2019     Jr.               1.30       1.30 $     826.00 $      1,073.80      $      1,073.80 order and attorney fee petition
              James Bopp,
5/30/2019     Jr.               0.20       0.20 $     826.00 $           165.20   $       165.20 Review email regarding needed items for judge
                                                                                                 E-mail exchange with Melena Siebert and
                                                                                                 Jeffrey P. Gallant regarding attorney fee
                                                                                                 petition; phone
              James Bopp,                                                                        conference with Melena Siebert and Jeffrey P.
5/31/2019     Jr.               0.50       0.50 $     826.00 $           413.00   $       413.00 Gallant regarding attorney fee petition
                                                                                                 E-mail exchange with Melena Siebert and
              James Bopp,                                                                        Jeffrey P. Gallant regarding issues regarding
5/31/2019     Jr.               0.50       0.50 $     826.00 $           413.00   $       413.00 Court Order on attorney fees
              James Bopp,                                                                        Phone conference with Jeffrey P. Gallant and
5/31/2019     Jr.               0.50       0.50 $     826.00 $           413.00   $       413.00 Melena Siebert regarding attorney fee petition
                                                                                                 Phone conference with Melena Siebert and
              James Bopp,                                                                        Jeffrey P. Gallant regarding contacting D.C.
5/31/2019     Jr.               0.40       0.40 $     826.00 $           330.40   $       330.40 lawyers
              James Bopp,
5/31/2019     Jr.               0.30       0.30 $     826.00 $           247.80   $       247.80 Review draft email to DC lawyer
                                                                                                 Review draft of request to TTV attorney;
              James Bopp,                                                                        review Jeffrey P. Gallant email amendment on
5/31/2019     Jr.               0.60       0.60 $     826.00 $           495.60   $       495.60 email; review Melena Siebert response


Exhibit 1                                                      1 of 12
                        Case 1:13-cv-00734-RBW Document 166-2 Filed 06/14/19 Page 3 of 13
                                      BLF Second Supplemental Billing Records                                                  1:13-cv-784-RBW
                                              Subtotaled by Attorney
                                                                                     LSI Laffey
                            Gross     Adjusted   LSI Laffey     LSI Gross            Adjusted
       Date       Name      Hours      Hours*      Rate         Amount                Amount     Description
              James Bopp,                                                                       E-mail exchange with Melena Siebert regarding
6/3/2019      Jr.              0.30       0.30 $     826.00 $           247.80   $       247.80 D.C. attorneys
                                                                                                Prepare list of D.C. lawyers and send to Melena
              James Bopp,                                                                       Siebert; phone conference with Melena Siebert
6/3/2019      Jr.              0.70       0.70 $     826.00 $           578.20   $       578.20 about list
                                                                                                Review email exchange regarding D.C.
              James Bopp,                                                                       attorney's
6/3/2019      Jr.              0.30       0.30 $     826.00 $           247.80   $       247.80 declaration
              James Bopp,
6/3/2019      Jr.              0.50       0.50 $     826.00 $           413.00   $       413.00 Review Gatore decision
                                                                                                Revise e-mail to D.C. attorneys; revise draft
              James Bopp,                                                                       declaration; email exchange with Melena
6/3/2019      Jr.              0.80       0.80 $     826.00 $           660.80   $       660.80 Siebert regarding sending out
              James Bopp,                                                                       E-mail exchange regarding PILF hourly rates
6/4/2019      Jr.              0.30       0.30 $     826.00 $           247.80   $       247.80 and declarations
                                                                                                Conference with Jeffrey P. Gallant regarding
              James Bopp,                                                                       hourly rates--Laffey v. Independentaly
6/4/2019      Jr.              0.20       0.20 $     826.00 $           165.20   $       165.20 supporting prevailing market rates
                                                                                                Phone conference with Melena Siebert
              James Bopp,                                                                       regarding email to experts in D.C. area
6/4/2019      Jr.              0.10       0.10 $     826.00 $            82.60   $        82.60 requesting declarations in support of petition

              James Bopp,                                                                       E-mail exchange with Melena Siebert regarding
6/4/2019      Jr.              0.40       0.40 $     826.00 $           330.40   $       330.40 D.C. attorneys; review response by some
              James Bopp,
6/5/2019      Jr.              0.50       0.50 $     826.00 $           413.00   $       413.00 E-mail exchange regarding judges order
              James Bopp,                                                                       E-mail exchange regarding setting-up
6/5/2019      Jr.              0.30       0.30 $     826.00 $           247.80   $       247.80 conference call with PILF and Foley
              James Bopp,                                                                       E-mail exchange with NYC attorney regarding
6/5/2019      Jr.              0.30       0.30 $     826.00 $           247.80   $       247.80 declarations




Exhibit 1                                                     2 of 12
                         Case 1:13-cv-00734-RBW Document 166-2 Filed 06/14/19 Page 4 of 13
                                       BLF Second Supplemental Billing Records                                                 1:13-cv-784-RBW
                                               Subtotaled by Attorney
                                                                                      LSI Laffey
                             Gross     Adjusted   LSI Laffey     LSI Gross            Adjusted
       Date       Name       Hours      Hours*      Rate         Amount                Amount     Description
                                                                                                 Review D.C. attorneys draft declarations and
              James Bopp,                                                                        email; phone conference with Melena Siebert
6/5/2019      Jr.               0.60       0.60 $     826.00 $           495.60   $       495.60 regarding revision
                                                                                                 Phone conference with Melena Siebert
              James Bopp,                                                                        regarding requests for declarations to other
6/5/2019      Jr.               0.30       0.30 $     826.00 $           247.80   $       247.80 attorneys (4X)
                                                                                                 Phone conference with Jeffrey P. Gallant
              James Bopp,                                                                        regarding evidence, arguments on hourly rates,
6/5/2019      Jr.               0.40       0.40 $     826.00 $           330.40   $       330.40 email to, from Melena Siebert
                                                                                                 Review draft declarations from non-profit
              James Bopp,                                                                        groups; phone conference with Melena Siebert
6/5/2019      Jr.               0.80       0.80 $     826.00 $           660.80   $       660.80 regarding revision
              James Bopp,
6/5/2019      Jr.               0.40       0.40 $     826.00 $           330.40   $       330.40 Review draft outline of notice; respond
              James Bopp,                                                                        Review email exchange regarding PILF hourly
6/5/2019      Jr.               0.40       0.40 $     826.00 $           330.40   $       330.40 rates; respond
              James Bopp,                                                                        Review email from Melena Siebert regarding
6/5/2019      Jr.               0.30       0.30 $     826.00 $           247.80   $       247.80 update on D.C. attorneys
              James Bopp,                                                                        Review proposed follow-up email to D. C.
6/5/2019      Jr.               0.50       0.50 $     826.00 $           413.00   $       413.00 attorneys; review draft declarations
                                                                                                 Prepare list of non-profit litigation groups;
              James Bopp,                                                                        phone conference with Melena Siebert
6/6/2019      Jr.               1.00       1.00 $     826.00 $           826.00   $       826.00 regarding list (2X)
                                                                                                 Review draft declarations from non-profit
              James Bopp,                                                                        groups; review other declarations; phone
6/6/2019      Jr.               0.90       0.90 $     826.00 $           743.40   $       743.40 conference with Melena Siebert
              James Bopp,                                                                        Review email exchange with PILF regarding
6/7/2019      Jr.               0.30       0.30 $     826.00 $           247.80   $       247.80 declarations
              James Bopp,                                                                        E-mail exchange with Melena Siebert regarding
6/10/2019     Jr.               0.40       0.40 $     826.00 $           330.40   $       330.40 additional agreement




Exhibit 1                                                      3 of 12
                              Case 1:13-cv-00734-RBW Document 166-2 Filed 06/14/19 Page 5 of 13
                                            BLF Second Supplemental Billing Records                                                  1:13-cv-784-RBW
                                                    Subtotaled by Attorney
                                                                                           LSI Laffey
                                  Gross     Adjusted   LSI Laffey     LSI Gross            Adjusted
       Date           Name        Hours      Hours*      Rate         Amount                Amount      Description
                                                                                                       Review draft affidavit for Notice and second
                 James Bopp,                                                                           supplemental; phone conference with Melena
6/10/2019        Jr.                 0.50       0.50 $     826.00 $           413.00   $        413.00 Siebert regarding revision
                                                                                                       Review draft Bopp affidavit for Notice; phone
                 James Bopp,                                                                           conference with Melena Siebert regarding
6/10/2019        Jr.                 0.40       0.40 $     826.00 $           330.40   $        330.40 revision
                                                                                                       Review draft memo support Notice of
                                                                                                       Compliance with Court Order; phone
                                                                                                       conference with Melena Siebert regarding
                 James Bopp,                                                                           revision (3x); email exchange regarding
6/10/2019        Jr.                 1.60       1.60 $     826.00 $      1,321.60      $      1,321.60 revision
                                                                                                       Review email from Melena Siebert regarding
                 James Bopp,                                                                           two potential legal agreements; review Jeffrey
6/10/2019        Jr.                 0.40       0.40 $     826.00 $           330.40   $        330.40 P. Gallant response; respond
                 James Bopp,
6/10/2019        Jr.                 0.40       0.40 $     826.00 $           330.40   $       330.40 Review revised affidavit
                 James Bopp,                                                                          Review draft of Notice; phone conference with
6/11/2019        Jr.                 0.30       0.30 $     826.00 $           247.80   $       247.80 Melena Siebert regarding revision
Attorney James
Bopp, Jr.
Subtotal                            20.30      20.30                $ 16,767.80        $ 16,767.80
                 Jeffrey P.                                                                           Conference call with Client, Brock Akers,
5/30/2019        Gallant             0.60       0.60 $     718.00 $           430.80   $       430.80 James Bopp, Jr. and Melena Siebert
                 Jeffrey P.                                                                           Phone conference with James Bopp, Jr.
5/30/2019        Gallant             0.20       0.20 $     718.00 $           143.60   $       143.60 regarding decision on attorney's fees
                 Jeffrey P.
5/30/2019        Gallant             0.80       0.80 $     718.00 $           574.40   $       574.40 Review decision on attorney's fees, note needs

                 Jeffrey P.                                                                           Email exhange with Melena Siebert and James
5/30/2019        Gallant             0.50       0.50 $     718.00 $           359.00   $       359.00 Bopp, Jr. regarding attorney fee petition




Exhibit 1                                                           4 of 12
                           Case 1:13-cv-00734-RBW Document 166-2 Filed 06/14/19 Page 6 of 13
                                         BLF Second Supplemental Billing Records                                                  1:13-cv-784-RBW
                                                 Subtotaled by Attorney
                                                                                        LSI Laffey
                               Gross     Adjusted   LSI Laffey     LSI Gross            Adjusted
       Date        Name        Hours      Hours*      Rate         Amount                Amount     Description
                                                                                                   Phone conference with James Bopp, Jr. and
              Jeffrey P.                                                                           Melena Siebert regarding contacting D.C.
5/31/2019     Gallant             0.40       0.40 $     718.00 $           287.20   $       287.20 lawyers
                                                                                                   E-mail to Melena Siebert regarding decision's
              Jeffrey P.                                                                           treatment of EAJA rates vs. prevailing market
5/31/2019     Gallant             0.20       0.20 $     718.00 $           143.60   $       143.60 rates
                                                                                                   Phone conference with James Bopp, Jr. and
              Jeffrey P.                                                                           Melena Siebert regarding case needs; email
5/31/2019     Gallant             0.50       0.50 $     718.00 $           359.00   $       359.00 exchanges regarding same
              Jeffrey P.
6/3/2019      Gallant             0.30       0.30 $     718.00 $           215.40   $       215.40 Edit draft expert hourly rates declaration
              Jeffrey P.
6/3/2019      Gallant             0.20       0.20 $     718.00 $           143.60   $       143.60 E-mail regarding expert opinions on rates
              Jeffrey P.                                                                           Find, send expert declarations on rates to
6/3/2019      Gallant             0.20       0.20 $     718.00 $           143.60   $       143.60 Melena Siebert
                                                                                                   Phone conference with Kaylan Phillips,
              Jeffrey P.                                                                           questions to James Bopp, Jr. regarding
6/3/2019      Gallant             0.40       0.40 $     718.00 $           287.20   $       287.20 declaration for PILF
                                                                                                   Phone conference with Melena Siebert
              Jeffrey P.                                                                           regarding needs for declarations, etc., send
6/3/2019      Gallant             0.50       0.50 $     718.00 $           359.00   $       359.00 exemplars and contact information
              Jeffrey P.
6/3/2019      Gallant             0.80       0.80 $     718.00 $           574.40   $       574.40 Research hourly rate "proof" in D.C. Circuit
                                                                                                   Conference with James Bopp, Jr. regarding
              Jeffrey P.                                                                           hourly rates--Laffey v. Independently
6/4/2019      Gallant             0.20       0.20 $     718.00 $           143.60   $       143.60 supporting prevailing market rates
              Jeffrey P.                                                                           E-mail to PILF regarding language for
6/4/2019      Gallant             0.20       0.20 $     718.00 $           143.60   $       143.60 declaration




Exhibit 1                                                        5 of 12
                           Case 1:13-cv-00734-RBW Document 166-2 Filed 06/14/19 Page 7 of 13
                                         BLF Second Supplemental Billing Records                                                   1:13-cv-784-RBW
                                                 Subtotaled by Attorney
                                                                                        LSI Laffey
                               Gross     Adjusted   LSI Laffey     LSI Gross            Adjusted
       Date        Name        Hours      Hours*      Rate         Amount                Amount       Description

                                                                                                   E-mails with Melena Siebert and James Bopp,
                                                                                                   Jr.
              Jeffrey P.                                                                           regarding declarations supporting hourly rates,
6/4/2019      Gallant             0.60       0.60 $     718.00 $           430.80   $       430.80 questions on language
                                                                                                   Questions regarding accessing declarations
              Jeffrey P.                                                                           filed in
6/4/2019      Gallant             0.20       0.20 $     718.00 $           143.60   $       143.60 other cases
              Jeffrey P.
6/5/2019      Gallant             0.10       0.10 $     718.00 $            71.80   $        71.80 E-mail to PILF regarding signatures
              Jeffrey P.                                                                           E-mails regarding declarations, questions on
6/5/2019      Gallant             0.40       0.40 $     718.00 $           287.20   $       287.20 format, content
                                                                                                   Phone conference with James Bopp, Jr.
              Jeffrey P.                                                                           regarding evidence, arguments on hourly rates,
6/5/2019      Gallant             0.40       0.40 $     718.00 $           287.20   $       287.20 email to, from Melena Siebert
              Jeffrey P.
6/5/2019      Gallant             0.30       0.30 $     718.00 $           215.40   $       215.40 Review declarations

              Jeffrey P.                                                                            Answer questions regarding rates for Foley in
6/6/2019      Gallant             0.20       0.20 $     718.00 $           143.60   $        143.60 declaration
              Jeffrey P.                                                                            E-mail to James Bopp, Jr. and Melena Siebert
6/6/2019      Gallant             0.50       0.50 $     718.00 $           359.00   $        359.00 regarding request for declaration on rates that
                                                                                                    Phone conference with Melena Siebert
                                                                                                    regarding Gatore, arguments, record for
              Jeffrey P.                                                                            supporting the Laffey LSI Matrix over the
6/6/2019      Gallant             1.60       1.60 $     718.00 $      1,148.80      $      1,148.80 USAO Matrix
                                                                                                    Review Gatore , email to Melena Siebert
              Jeffrey P.                                                                            regarding arguments to distinguish TTV from
6/6/2019      Gallant             0.30       0.30 $     718.00 $           215.40   $        215.40 Catholic Charities
              Jeffrey P.
6/7/2019      Gallant             0.20       0.20 $     718.00 $           143.60   $       143.60 E-mails regarding declarations on hourly rates



Exhibit 1                                                        6 of 12
                                Case 1:13-cv-00734-RBW Document 166-2 Filed 06/14/19 Page 8 of 13
                                              BLF Second Supplemental Billing Records                                                      1:13-cv-784-RBW
                                                      Subtotaled by Attorney
                                                                                             LSI Laffey
                                    Gross     Adjusted   LSI Laffey       LSI Gross          Adjusted
       Date             Name        Hours      Hours*      Rate           Amount              Amount     Description
                   Jeffrey P.                                                                           Question on evidence to be entered declarations
6/7/2019           Gallant             0.30       0.30 $     718.00 $           215.40   $       215.40 from other cases, surveys, etc.
                   Jeffrey P.                                                                           E-mails from firms and attorneys regarding
6/10/2019          Gallant             0.20       0.20 $     718.00 $           143.60   $       143.60 declarations
                                                                                                        Phone conference with Melena Siebert
                   Jeffrey P.                                                                           regarding organizing second supplemental
6/10/2019          Gallant             0.30       0.30 $     718.00 $           215.40   $       215.40 motion for fees
                                                                                                        Review James Bopp, Jr. declaration, emails
                                                                                                        with Melena Siebert regarding points to be
                   Jeffrey P.                                                                           made, separate declarations in response to
6/10/2019          Gallant             0.50       0.50 $     718.00 $           359.00   $       359.00 Court's request and for supplemental
                                                                                                        E-mails with Melena Siebert, James Bopp, Jr.
                                                                                                        regarding arguments regarding discounting
                   Jeffrey P.                                                                           hourly rates and using Laffey rates over USAO
6/11/2019          Gallant             0.60       0.60 $     718.00 $           430.80   $       430.80 II
                   Jeffrey P.
6/11/2019          Gallant             1.10       1.10 $     718.00 $           789.80   $       789.80 Review and edit draft of brief section
Attorney Jeffrey
P. Gallant
Subtotal                              13.80      13.80                $     9,908.40     $      9,908.40
                                                                                                        Phone conference with client; Brock, James
                   Melena S.                                                                            Bopp, Jr. and Jeffrey P. Gallant regarding
5/30/2019          Siebert             0.60       0.60 $     358.00 $           214.80   $       214.80 Court Order and attorney fee petition
                   Melena S.                                                                               Email exhange with Jeffrey P. Gallant and James
5/30/2019          Siebert             0.50        0.50 $    358.00 $           179.00   $       179.00 Bopp, Jr. regarding attorney fee petition
                   Melena S.                                                                               Read memorandum opinion on petition for attorney's
5/30/2019          Siebert             0.60        0.60 $    358.00 $           214.80   $       214.80 fees
                   Melena S.                                                                            Phone conference with client to discuss opinion on
5/30/2019          Siebert             0.20        0.20 $    358.00 $            71.60   $        71.60 petition for attorney's fees, next steps
                   Melena S.                                                                            Phone conference with Jeffrey P. Gallant regarding
5/30/2019          Siebert             0.30        0.30 $    358.00 $           107.40   $       107.40 declarations needed for attorney's fee petition



Exhibit 1                                                             7 of 12
                          Case 1:13-cv-00734-RBW Document 166-2 Filed 06/14/19 Page 9 of 13
                                        BLF Second Supplemental Billing Records                                                        1:13-cv-784-RBW
                                                Subtotaled by Attorney
                                                                                       LSI Laffey
                              Gross     Adjusted   LSI Laffey     LSI Gross            Adjusted
       Date       Name        Hours      Hours*      Rate         Amount                Amount        Description
                                                                                                     Edit draft email to other counsel regarding rates,
              Melena S.                                                                              send same to James Bopp, Jr. and Jeffrey P. Gallant
5/31/2019     Siebert            0.40        0.40 $    358.00 $           143.20   $        143.20
              Melena S.                                                                            Phone conference with James Bopp, Jr. and Jeffrey
5/31/2019     Siebert            0.40        0.40 $    358.00 $           143.20   $        143.20 P. Gallant regarding contacting D.C. lawyers
                                                                                                   Phone conference with James Bopp, Jr., Jeffrey P.
              Melena S.                                                                            Gallant regarding response to judicial order on
5/31/2019     Siebert            0.50        0.50 $    358.00 $           179.00   $        179.00 attorney's fees; email exchanges regarding same
              Melena S.                                                                            Research for EAJA cases using LSI Laffey Matrix
5/31/2019     Siebert            0.20        0.20 $    358.00 $            71.60   $         71.60
              Melena S.                                                                              Organize, edit Billing records per judge's order
6/1/2019      Siebert            0.60        0.60 $    358.00 $           214.80   $        214.80
              Melena S.
                                                                                                     Organize, edit Billing records per judge's order
6/2/2019      Siebert            0.80        0.80 $    358.00 $           286.40   $        286.40
                                                                                                   Phone conference with James Bopp, Jr. regarding
              Melena S.                                                                            email to experts in D.C. area requesting declarations
6/3/2019      Siebert            0.50        0.50 $    358.00 $           179.00   $        179.00 in support of petition
                                                                                                   Multiple e-mails with James Bopp, Jr. and Jeffrey P.
              Melena S.                                                                            Gallant regarding requesting declarations in support
6/3/2019      Siebert            0.90        0.90 $    358.00 $           322.20   $        322.20 of petition

              Melena S.                                                                              Phone conferences with Jeffrey P. Gallant regarding
                                                                                                     fee petition, requests for declarations (3x)
6/3/2019      Siebert            0.50        0.50 $    358.00 $           179.00   $        179.00
              Melena S.                                                                            Edit declarations for other TTV attorneys, send
6/3/2019      Siebert            2.50        2.50 $    358.00 $           895.00   $        895.00 requests for declarations to same
              Melena S.                                                                            Edit declarations for "expert" attorneys in D.C. area,
6/3/2019      Siebert            5.50        5.50 $    358.00 $      1,969.00      $      1,969.00 send declaration request to same
                                                                                                   Phone conference with James Bopp, Jr. regarding
              Melena S.                                                                            email to experts in D.C. area requesting declarations
6/4/2019      Siebert            0.10        0.10 $    358.00 $            35.80   $         35.80 in support of petition
                                                                                                   Multiple e-mails with James Bopp, Jr. and Jeffrey P.
              Melena S.                                                                            Gallant regarding requesting declarations in support
6/4/2019      Siebert            0.20        0.20 $    358.00 $            71.60   $         71.60 of petition



Exhibit 1                                                       8 of 12
                          Case 1:13-cv-00734-RBW Document 166-2 Filed 06/14/19 Page 10 of 13
                                         BLF Second Supplemental Billing Records                                                      1:13-cv-784-RBW
                                                 Subtotaled by Attorney
                                                                                        LSI Laffey
                              Gross      Adjusted   LSI Laffey     LSI Gross            Adjusted
       Date       Name        Hours       Hours*      Rate         Amount                Amount       Description
              Melena S.                                                                             Phone conference with Jeffrey P. Gallant regarding
6/4/2019      Siebert             0.10        0.10 $    358.00 $            35.80   $         35.80 fee petition, requests for declarations
              Melena S.                                                                             Edit declarations for "expert" attorneys in D.C. area,
6/4/2019      Siebert             4.00        4.00 $    358.00 $      1,432.00      $      1,432.00 send declaration request to same
              Melena S.                                                                             Edit, compile, organize spreadsheets for subtotals
6/4/2019      Siebert             2.60        2.60 $    358.00 $           930.80   $        930.80 per judge's order
              Melena S.                                                                             Email exhange with James Bopp, Jr. regarding D.C.
6/4/2019      Siebert             0.20        0.20 $    358.00 $            71.60   $         71.60 attorneys
              Melena S.                                                                               Email exchange with James Bopp, Jr. regarding
6/5/2019      Siebert             0.50        0.50 $    358.00 $           179.00   $        179.00 judge's order
              Melena S.                                                                               Email exhange with James Bopp, Jr. regarding
6/5/2019      Siebert             0.30        0.30 $    358.00 $           107.40   $        107.40 setting up conference call with PILF and Foley
              Melena S.                                                                             Phone conference with James Bopp, Jr. regarding
6/5/2019      Siebert             0.30        0.30 $    358.00 $           107.40   $        107.40 requests for declarations to other attorneys (4x)
                                                                                                    Multiple e-mails with Jeffrey P. Gallant regarding
              Melena S.                                                                             declarations needed, case support needed for
6/5/2019      Siebert             0.80        0.80 $    358.00 $           286.40   $        286.40 arguments
              Melena S.                                                                             Multiple e-mail exchanges with various attorneys
6/5/2019      Siebert             0.90        0.90 $    358.00 $           322.20   $        322.20 regarding declaration requests, edits
              Melena S.                                                                               Research on arguments supporting various matrices
6/5/2019      Siebert             3.00        3.00 $    358.00 $      1,074.00      $      1,074.00
              Melena S.                                                                             Phone conference with James Bopp, Jr. regarding
6/5/2019      Siebert             0.50        0.50 $    358.00 $           179.00   $        179.00 revision (2X)
                                                                                                    Send emails to attorneys at other firms and non-
              Melena S.                                                                             profits requesting declarations in support of our
6/6/2019      Siebert             2.50        2.50 $    358.00 $           895.00   $        895.00 notice for fee petition
                                                                                                    Phone conference with Jeffrey P. Gallant regarding
                                                                                                    case distinctions in D.C. courts, acceptance of
              Melena S.                                                                             matrices, preferences and proof required supporting
6/6/2019      Siebert             1.60        1.60 $    358.00 $           572.80   $        572.80 use of matrices (3x)
              Melena S.                                                                             Draft outline for memo in support of notice of
6/6/2019      Siebert             2.30        2.30 $    358.00 $           823.40   $        823.40 compliance with court order regarding fees



Exhibit 1                                                        9 of 12
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                                         BLF Second Supplemental Billing Records                                                       1:13-cv-784-RBW
                                                 Subtotaled by Attorney
                                                                                         LSI Laffey
                              Gross      Adjusted   LSI Laffey      LSI Gross            Adjusted
       Date       Name        Hours       Hours*      Rate          Amount                Amount       Description
                                                                                                    Phone conferences with James Bopp, Jr.'s regarding
              Melena S.                                                                             requesting declarations from non-profits in support
6/6/2019      Siebert             0.70        0.70 $    358.00 $            250.60   $       250.60 of adopting matrices (2x)
              Melena S.                                                                             E-mails with various attorneys regarding declarations
6/6/2019      Siebert             0.70        0.70 $    358.00 $            250.60   $       250.60
                                                                                                     Organize and email various non-profit attorneys
              Melena S.                                                                              seeking declarations in support of matrices, respond
6/7/2019      Siebert             4.00        4.00 $    358.00 $       1,432.00      $      1,432.00 to emails regarding same
              Melena S.                                                                              Multiple e-mails with former TTV attorneys
6/7/2019      Siebert             0.40        0.40 $    358.00 $            143.20   $        143.20 regarding declaration details, formatting
                                                                                                    Phone conference with William E. Davis and Kaylan
              Melena S.                                                                             Phillips regarding needed declarations, support for
6/7/2019      Siebert             0.30        0.30 $    358.00 $            107.40   $       107.40 notice
                                                                                                     Draft Section I, A, B of Memorandum in
              Melena S.                                                                              Support of Notice of Compliance with Court
6/8/2019      Siebert             2.00       2.00 $     358.00 $            716.00   $        716.00 Order
                                                                                                     Draft Section I, C, edit Sections I, A, B of
              Melena S.                                                                              Memorandum in Support of Notice of
6/9/2019      Siebert             4.40       4.40 $     358.00 $       1,575.20      $      1,575.20 Compliance with Court Order
                                                                                                      Phone conference with James Bopp, Jr.
              Melena S.                                                                              regarding Section I. B. 3, II (3x); email
6/10/2019     Siebert             0.40       0.40 $     358.00 $            143.20   $        143.20 exchanges regarding same
              Melena S.
6/10/2019     Siebert             0.50       0.50 $     358.00 $            179.00   $       179.00 Draft Bopp Declaration
              Melena S.                                                                             Email exchange with James Bopp, Jr. regarding
6/10/2019     Siebert             0.40       0.40 $     358.00 $            143.20   $       143.20 additional agreement
              Melena S.                                                                             Phone conferece with James Bopp, Jr.
6/10/2019     Siebert             0.20       0.20 $     358.00 $             71.60   $        71.60 regarding revision

              Melena S.                                                                             Draft Notice of Compliance with Court Order,
6/10/2019     Siebert             0.40       0.40 $     358.00 $            143.20   $       143.20 email to Jeffrey P. Gallant regarding same
              Melena S.
6/10/2019     Siebert             0.30       0.30 $     358.00 $            107.40   $       107.40 Draft Order


Exhibit 1                                                        10 of 12
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                                         BLF Second Supplemental Billing Records                                                   1:13-cv-784-RBW
                                                 Subtotaled by Attorney
                                                                                         LSI Laffey
                              Gross      Adjusted   LSI Laffey      LSI Gross            Adjusted
       Date       Name        Hours       Hours*      Rate          Amount                Amount     Description
                                                                                                    Draft Section II of Memorandum in Support of
                                                                                                    Notice of Compliance with Court Order;
              Melena S.                                                                             conclusion, send draft to James Bopp, Jr., and
6/10/2019     Siebert             2.30       2.30 $     358.00 $            823.40   $       823.40 Jeffrey P. Gallant
              Melena S.
6/10/2019     Siebert             0.40       0.40 $     358.00 $            143.20   $       143.20 E-mail to LSI Matrix creators
              Melena S.                                                                             Left phone message, email with opposing
6/10/2019     Siebert             0.10       0.10 $     358.00 $             35.80   $        35.80 counsel regarding LR7(m) duty to confer
                                                                                                    Phone conference with James Bopp, Jr.
              Melena S.                                                                             regarding organization, needs for separate
6/10/2019     Siebert             0.10       0.10 $     358.00 $             35.80   $        35.80 declarations
                                                                                                    Phone conference with Jeffrey P. Gallant
              Melena S.                                                                             regarding organizing second supplemental
6/10/2019     Siebert             0.30       0.30 $     358.00 $            107.40   $       107.40 motion
              Melena S.                                                                             Phone conference with non-profit attorney
6/10/2019     Siebert             0.10       0.10 $     358.00 $             35.80   $        35.80 regarding declaration
              Melena S.                                                                             Revise billing records to reflect adjustments
6/10/2019     Siebert             0.80       0.80 $     358.00 $            286.40   $       286.40 made in Reply
                                                                                                    Edit James Bopp, Jr.'s Notice Declaration and
              Melena S.                                                                             Second Supplemental Declaration, send email
6/11/2019     Siebert             1.30       1.30 $     358.00 $            465.40   $       465.40 to James Bopp, Jr. regarding same

              Melena S.                                                                              E-mail exchanges with Cleta Mitchel and Diane
6/11/2019     Siebert             0.20       0.20 $     358.00 $             71.60   $         71.60 Fletcher at Foley regarding Cleta's declaration
              Melena S.                                                                              Phone conference with James Bopp, Jr.
6/11/2019     Siebert             0.10       0.10 $     358.00 $             35.80   $         35.80 regarding revision
              Melena S.                                                                              Research, analyze case law for Section I.B.3,
6/11/2019     Siebert             3.60       3.60 $     358.00 $       1,288.80      $      1,288.80 edit same
                                                                                                     Research PACER filings for EAJA cases,
              Melena S.                                                                              EAJA cases with bad faith enhancement, EAJA
6/12/2019     Siebert              2.5        2.5 $     358.00 $            895.00   $        895.00 cases claiming LSI Rates



Exhibit 1                                                        11 of 12
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                                              BLF Second Supplemental Billing Records                                                    1:13-cv-784-RBW
                                                      Subtotaled by Attorney
                                                                                              LSI Laffey
                                  Gross       Adjusted   LSI Laffey        LSI Gross          Adjusted
       Date           Name        Hours        Hours*      Rate            Amount              Amount       Description
                  Melena S.
6/12/2019         Siebert              0.9         0.9 $     358.00 $            322.20   $       322.20 Edit Notice of Compliance with Court Order
                  Melena S.
6/12/2019         Siebert              0.8         0.8 $     358.00 $            286.40   $       286.40 Organize summary of exhibits
                  Melena S.                                                                              Review received emails for recommended
6/12/2019         Siebert              0.6         0.6 $     358.00 $            214.80   $       214.80 PACER filings
                  Melena S.
6/12/2019         Siebert                 4          4 $     358.00 $        1,432.00     $      1,432.00 Edit Memo, exhibits, spreadsheets
                  Melena S.                                                                               Edit Foley PILF billings records to reflect
6/13/2019         Siebert                 6          6 $     358.00 $        2,148.00     $      2,148.00 Reply Reductions
Attorney Melena
S. Siebert
Subtotal                             15.00       15.00                 $     5,370.00     $      5,370.00

GRAND TOTAL                           49.1        49.1                 $ 32,046.20        $ 32,046.20




Exhibit 1                                                             12 of 12
